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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


UNITED STATES OF AMERICA
and STATE OF FLORIDA ex rel.
KATHLEEN M. SIWICKI,

       Plaintiffs,                                         Case No. 8:15-cv-987-T-27MAP

v.

ARTHUR S. PORTNOW, M.D., and
ARTHUR S. PORTNOW M.D., P.A.
d/b/a APPLE MEDICAL AND
CARDIOLOGY GROUP,

      Defendants.
 _________________________________/


       JOINT STIPULATION OF DISMISSAL PURSUANT TO SETTLEMENT

       Pursuant to Federal Rule of Civil Procedure 41(a)(1) and the qui tam provisions of

the False Claims Act, 31 U.S.C. § 3730(b)(1), and in accordance with the Settlement

Agreement entered into between and among the United States, the relator Kathleen M.

Siwicki (Relator), and defendants Arthur S. Portnow, M.D. and Arthur S. Portnow M.D.,

P.A., d/b/a Apple Medical and Cardiovascular Group, d/b/a Apple Medical Group

(collectively, Portnow) dated November 30, 2017 (Settlement Agreement), the United States

and the Relator hereby stipulate, through their undersigned counsel, to the entry of an Order

dismissing all claims and allegations in the Relator’s Complaint against Portnow with

prejudice as to the Relator, but with prejudice as to the United States only as to the

“Covered Conduct,” as that term is defined in the Settlement Agreement, and otherwise

without prejudice as to the United States.
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       The Relator, on behalf of herself, her heirs, successors, attorneys, agents and assigns,

stipulates that the Settlement Amount set forth in the Settlement Agreement and the terms

and conditions described therein are fair, adequate and reasonable under all the

circumstances, that she will not challenge the settlement pursuant to 31 U.S.C.

§ 3730(c)(2)(B), and that she expressly waives the opportunity for a hearing on any objection

to the settlement pursuant to 31 U.S.C. § 3730(c)(2)(B).

       The parties respectfully request that the Court enter an Order consistent with the

attached proposed Order.


                                           Respectfully submitted,

                                           W. STEPHEN MULDROW
                                           Acting United States Attorney
                                           Middle District of Florida


Dated: November 30, 2017            By:    /s/ Christopher P. Tuite    ________
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                                   Counsel for Relator Kathleen M. Siwicki




Dated: November 30, 2017     By:   /s/ Bruce S. Rosenberg_____ _________
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                                   Arthur S. Portnow M.D., P.A., d/b/a Apple Medical
                                   and Cardiovascular Group, d/b/a Apple Medical
                                   Group

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on this 30th day of November, 2017, I caused the foregoing

documents to be electronically filed with the Clerk of the Court by using the CM/ECF

system, which will send a notice of electronic filing to all interested parties.




                                             /s/ Christopher P. Tuite_________
                                             CHRISTOPHER P. TUITE
                                             Assistant United States Attorney




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